      Case 2:20-cr-00055-LMA-KWR Document 395 Filed 07/17/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                           CRIMINAL NO. 20-055

 VERSUS                                             SECTION “I”
                                                    JUDGE LANCE M. AFRICK
 JASON R. WILLIAMS
 NICOLE E. BURDETT                                  MAGISTRATE (4)
                                                    MAGISTRATE JUDGE ROBY

 UNITED STATES OF AMERICA                           CRIMINAL NO. 20-139

 VERSUS                                             SECTION “I”
                                                    JUDGE LANCE M. AFRICK
 NICOLE E. BURDETT
                                                    MAGISTRATE (3)
                                                    MAGISTRATE JUDGE DOUGLAS


                  DEFENSE’S THIRD SUPPLEMENTAL EXHIBIT LIST

       Jason R. Williams and Nicole E. Burdett submit the following third supplemental list of

exhibits which may be introduced at the trial of the above matter. Defendants reserve their right to

supplement this list.

          #                          Description                               Bates

      266.      Automated Underreporter Rpt for H Timothy         G0127729
                267. D_706 - 2016 1040 Estimated Average          D_706 – D_707
       267.     Taxpayer Burden
                D_739 - 2021.12.31 - IberiaBank statement for B&B D_739
       268.     Accounting




                                                                                         #100529173v1
     Case 2:20-cr-00055-LMA-KWR Document 395 Filed 07/17/22 Page 2 of 2




                                                     Respectfully submitted:

 /s/Michael W. Magner                             /s/ Ian Atkinson
 MICHAEL W. MAGNER (#1206)                        William P. Gibbens, 27225
 AVERY B. PARDEE (#31280)                         Ian L. Atkinson, 31605
 Jones Walker LLP                                 SCHONEKAS, EVANS, MCGOEY &
 201 St. Charles Ave., Suite 5100                 MCEACHIN, L.L.C.
 New Orleans, LA 70170                            909 Poydras Street, Suite 1600
 Telephone (504) 582-8316                         New Orleans, Louisiana 70112
 apardee@joneswalker.com                          Telephone: (504) 680-6050
 mmagner@joneswalker.com                          billy@semmlaw.com
                                                  ian@semmlaw.com
 Attorneys for Nicole E. Burdett
                                                  and

                                                  Lisa M. Wayne (Pro Hac Vice)
                                                  LAW OFFICES OF LISA M. WAYNE
                                                  1775 Sherman St., Ste. 1650
                                                  Denver, Colorado 80203
                                                  Telephone: (303) 589-9745
                                                  Lmonet20@me.com

                                                  Attorney for Jason R. Williams



                                CERTIFICATE OF SERVICE

       I certify that on July 17, 2022, I electronically filed the foregoing pleading with the Clerk
of Court using the CM/ECF System, which will send a copy of the pleading to all parties via email.

                                             /s/ Michael W. Magner




                                          #100529173v12
